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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

 State of Texas, et al.

               Plaintiﬀs,

        v.

 United States Department of
 Homeland Security;
 Alejandro Mayorkas, in his oﬃcial                        No. 6:24-cv-00306
 capacity as Secretary for DHS; Ur Jaddou,
 in her oﬃcial capacity as Director of USCIS;
 Troy Miller, in his oﬃcial capacity as the
 Acting Commissioner of CBP;
 Patrick J. Lechleitner, in his oﬃcial
 capacity as the Acting Director of ICE; the
 OFFICE OF MANAGEMENT AND BUDGET;
 SHALANDA YOUNG in her oﬃcial capacity as
 the Director of the Oﬃce of Management and
 Budget,
                            Defendants.



     Plaintiffs’ Opposed Motion for Clarification of ECF No. 88, or Alternatively,
     Opposed Motion to Strike/Notice of Objection to Attached Exhibits of Amici
       CHIRLA ECF Nos. 84-1 to 84-5 (resubmitted as ECF Nos. 96–1 to 96–5)

        This Court has twice denied Amici CHIRLA’s 1 attempts to intervene. ECF Nos. 49, 88.

 The ﬁrst of these decisions was unanimously upheld by the Fifth Circuit. Opinion and Order

 Aﬃrming Denial of Intervention, No. 24-40571 (5th Cir. Oct. 4, 2024), ECF No. 111. The second

 attempt to intervene ﬁled by Amici was opposed by all named parties. ECF No. 84 at 25. In denying


    1 Collectively, Oscar Silva Perez, Natalie Taylor, Salvador Doe, Justin Doe, Carmen Miranda

 Zayas, Ricardo Ocampo Hernandez, Jessika Ocampo Hernandez, Foday Turay, Jaxhiel Turay, Ge-
 naro Vicencio Palomino, Cindy Siqueiros Maduena, and The Coalition for Humane Immigrant
 Rights (“CHIRLA”).
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 the second intervention, the Court allowed Amici to attach their proﬀered intervention exhibits,

 ECF Nos. 84–1 to 84–5, to their amicus brief. ECF No. 88 at 8. The Court has said Amici’s attached

 exhibits are not “trial exhibits,” ECF No. 88 at 8, for purposes of any bench trial—Plaintiﬀs seek,

 in part, clariﬁcation that as to which part of these proceedings the Court intends to give any

 “persuasive weight,” id., to the exhibits: summary judgment, 2 bench trial, or both. The weight of

 authority on the issue counsels against the Court giving the declarations “persuasive weight,” id.,

 during any part of the proceedings.

        An amicus’s role is clear and narrowly deﬁned: it is to aid the Court in understanding legal

 principles, not to act as a litigant or to present new evidence. Amici are meant to clarify the law, not

 reshape the factual landscape. Here, however, Amici have transformed their brief into an

 evidentiary submission, attempting to play the role of a quasi-party. Their inclusion of expert

 declarations and reports—materials never presented by the actual parties—compromises fairness

 and judicial eﬃciency.

        The eﬀects are signiﬁcant. With these materials in the record, Plaintiﬀs are forced into

 unnecessary factual battles and suﬀer prejudice from having to counter untested evidence. Worse

 still, Defendants have signaled their intent to leverage Amici’s submissions as “rebuttal” evidence

 to Plaintiﬀs’ declarations. This potential end-run around the Parties’ agreed stipulation over

 evidence in these proceedings further unnecessarily complicates this so-far streamlined process.




    2 Given this Court’s order that Amici’s exhibits are not “trial exhibits,” ECF No. 88 at 8.,

 Plaintiﬀs do not anticipate that Amici’s exhibits could be used at any bench trial. So the only other
 proceeding where the exhibits could be considered “persuasive” is during the summary judgment.
 After all, the amicus brief the exhibits are attached to is an amicus “in support of federal defendants’
 motion for summary judgment.” ECF No. 96 at 1 (emphasis added). Amici and Defendants may argue
 that this Court’s order granting Amici’s request to attach these exhibits to their brief precludes
 Plaintiﬀs from ﬁling the present motion. But a “notice of objection” is the “proper method of
 objecting to the admissibility of an aﬃdavit in support for summary judgment.” Bolton v. Wood, 682
 F. Supp. 3d 1304, 1331 (N.D. Ga. 2023). Since Plaintiﬀs are objecting to declarations attached in
 support of a summary judgment motion, their notice of objections is proper.

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         The Court’s initial rulings denying intervention were designed to prevent exactly these

 kinds of issues. To preserve procedural integrity, fairness, and judicial eﬃciency, the Court should

 strike Amici’s attached exhibits from the record entirely—or in the alternative, clarify at what part

 of the proceedings, if any, the exhibits hold any persuasive value.


                                             ARGUMENT

         The role of an amicus is limited. It is well established than an amicus cannot raise or

 implicate new issues that have not been presented by the parties. Anderson v. City of New Orleans,

 38 F.4th 472, 481 (5th Cir. 2022); see also WildEarth Guardians v. Jeﬀries, 370 F. Supp. 3d 1208,

 1228 (D. Or. 2019) (declining amicus’ motion to submit extra-record evidence because an amicus

 “does not have the prerogatives of a proper party in this action”).

         For this reason, Amici should not be allowed to introduce new evidence into the record of

 these proceedings. See F.T.C. v. Staples, Inc., 970 F. Supp. 1066, 1069 n. 1 (D.D.C. 1997) (declining
 to rely on expert declaration submitted by amicus in “fairness” to parties as “neither party had the

 opportunity for meaningful cross-examination” ); Ministry of Def. of the Islamic Republic of Iran v.

 Gould, Inc., 969 F.2d 764, 773 (9th Cir. 1992) (“declin[ing] to go outside the record to consider new

 facts submitted by a non-party [amicus]”); Gandee v. Glaser, 785 F. Supp. 684, 686 (S.D. Ohio

 1992), aﬀ’d, 19 F.3d 1432 (6th Cir. 1994) (amici “ought not be allowed to enter evidence into the

 record”). 3
         Yet Amici have done just that in submitting expert declarations. See ECF Nos. 84-1 to 84-5

 (resubmitted with amicus brief as ECF Nos. 96–1 to 96–5). Such non-party extra-record exhibits



     3 To be sure, Plaintiﬀs do not dispute Amici can raise certain arguments that are not raised by

 the parties. Rather, Plaintiﬀs argue that the extra-record evidence submitted by amici attached to a
 brief is improper. Especially where, as here, that submission happens after the close of discovery
 without any chance for opposition or adversarial testing of the exhibits. To the contrary, when faced
 with that speciﬁc issue, the weight of authority counsels against allowing amici to attach evidence
 or introduce new facts that have not been proﬀered by any party.

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 have no place in the record even for “persuasive” reasons. Rather, this Court should refuse to

 “consider” such materials at all. See, e.g., Smith v. United States, 343 F.2d 539, 541 (5th Cir. 1965)

 (court may not “consider the new factual material included in the brief of the amicus”).

         Indeed, consideration of these exhibits would be improper and fundamentally unfair to

 Plaintiﬀs. Plaintiﬀs did not have the opportunity to depose Amici’s declarants regarding their

 opinions. See Kitzmiller v. Dover Area Sch. Dist., 2005 WL 2736500, at *1–2 (M.D. Pa. Oct. 24,

 2005) (striking amicus brief because it was a “back door attempt to insert expert testimony into the

 record free of the crucible of trial and cross-examination”); Gandee, 785 F. Supp. at 686 (amici

 should not be permitted to introduce new evidence when “new evidence would remain unrebutted

 and therefore, possibly prejudicial.”); United States v. Madkins, 994 F.2d 540, 543 (8th Cir. 1993)

 (striking extra-record evidence as “an attempt to prejudice this court’s examination of the

 case[.]”). The ﬁrst time Amici put forth these declarations was in their renewed motion to

 intervene, ECF No. 84 at 15, ﬁled eleven days after the discovery period in this case closed. ECF

 No. 69 at 1. And at no point in Amici’s conferral over their motion for leave to ﬁle their renewed

 intervention motion did Amici indicate they would be attaching any—let alone four expert

 declarations. 4 Simply put, Plaintiﬀs never had a chance to address the propriety of Amici’s expert

 declarations at all.

         Worse, Defendants have recently signaled their intent to use Amici’s evidence to try to

 “rebut” Plaintiﬀs’ declarations, eﬀectively treating Amici’s exhibits as if they were legitimate parts

 of the record. Even setting aside that Defendants’ use of any of Amici’s extra-record evidence

 would violate the plain language of the parties’ agreed stipulations, 5 allowing this extra-record


     4  In Amici’s renewed motion to intervene, they requested that if this Court denied them
 intervention, that it allow the exhibits accompanying their renewed motion to be “included as part
 of the record.” ECF No. 84 at 4 n. 2.
     5 See ECF No. 92 at 1 (stipulating that “no evidentiary materials, including exhibits or

 declarations, shall be considered at the hearing unless” such materials “were attached to the
 brieﬁng to the omnibus motions ﬁled on October 18, 2024, or to the responses to the other side’s
 omnibus motion due on October 25, 2024”).

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 evidence to stand would introduce prejudice and ineﬃciency. Indeed, it forces Plaintiﬀs to ﬁght on

 two fronts: against named defendants and against untested evidence from amici. Striking these

 exhibits is the only way to keep the focus of this litigation on properly admitted—and stipulated—

 evidence. Simply put, Defendants have already made their “choices about which speciﬁc

 witnesses” to “advance.” ECF No. 88 at 6. And the parties have already entered stipulations to

 this eﬀect. This burden placed on Plaintiﬀs undermines judicial eﬃciency, as it results in

 unnecessary litigation over evidence that should not have been introduced at all.

        While not evident at the time this Court allowed these exhibits in, it has now become clear

 that allowing these expert declarations here would cut against one of the Court’s reasons for

 denying intervention in the ﬁrst place: a “speedy and inexpensive determination of the action.”

 ECF No. 49 at 9 (quoting Fed. R. Civ. P. 1.). Less than a week out from the hearing, Plaintiﬀs are

 now having to contemplate motion practice against named Defendants to keep them from

 introducing untested and non-stipulated exhibits proﬀered by twice-denied proposed intervenors.

 In other words, the injection of Amici’s exhibits into this case “unnecessarily” complicates matters

 and can only serve to “hinder, rather than enhance” judicial economy at this stage. One Wisconsin

 Inst., Inc. v. Nichol, 310 F.R.D. 394, 399, 400 (W.D. Wis. 2015). Indeed, the very purpose of the

 Parties’ stipulation was to avoid these kinds of surprises.

        To be sure, there are cases where district courts have allowed amici to introduce evidence.

 See, e.g., United States v. State of La., 751 F. Supp. 608, 620 (E.D. La. 1990). But this Court should
 sustain Plaintiﬀs’ objections under the distinct circumstances of this case: the expedited nature of

 the proceedings, the submission of expert declarations by a non-party twice denied intervention,

 the lack of any opportunity for adversarial testing, and the alarming prospect of a named party

 leveraging this untested evidence against an opposing party to create a fact issue for summary

 judgment, after the parties had stipulated to restriction of exhibits to those attached to their merits

 briefs. See Fisher v. U. of Texas at Austin, 645 F. Supp. 2d 587, 589 (W.D. Tex. 2009) (“Plaintiﬀs’

 objection to the new evidence submitted in support of LULAC’s [amicus] brief is well taken. The


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 Court will sustain the objection and thus consider only LULAC’s legal arguments and arguments

 based on the properly submitted evidence in this case, and will not consider the new evidence

 submitted by LULAC.”).

                                             CONCLUSION

        There is a meaningful diﬀerence between the status of intervenor and that of amicus. See

 Ryan v. Commodity Futures Trading Com’n, 125 F.3d 1062, 1063 (7th Cir. 1997) (Posner, J., in

 chambers) (“[A]n adversary role of an amicus curiae has become accepted . . . [b]ut there are, or at

 least there should be, limits.”). Here, Amici’s submission of evidence strays too far from the

 traditional role of amicus and into that of a named party. See United States v. State of Mich., 940 F.2d

 143, 165 (6th Cir. 1991) (“Amicus curiae may not . . . rise to the level of a named party/real party in

 interest.”). And “[g]iven that the trial date is now” three “business days away, with ﬁnal trial-

 preparation deadlines in the interim, the orderly completion of proceedings counsels against”

 allowing Amici’s expert declarations in the record. ECF No. 88 at 7.

        Thus, Plaintiﬀs respectfully request that this Court strike Amici’s evidence or sustain

 Plaintiﬀ’s objections to same. 6 Alternatively, if the Court allows these materials to remain part of




    6 Some courts and commentators have opined that a motion to strike “is neither an authorized

 nor a proper way to . . . strike an opponent’s aﬃdavits.” 5C Charles Alan Wright & Arthur R. Miller,
 Federal Practice and Procedure § 1380 (3d ed.). Still, some courts have understood that in reliance
 on Rule 1, courts routinely excuse technical pleading defects to treat motions to strike as motions
 to challenge the admissibility of aﬃdavits. See Gomez v. Biomet 3i, LLC, No. CV 21-945, 2022 WL
 1302885, at *4 (E.D. La. May 2, 2022) (quoting CJS Fed. Civ. Proc. § 497) (“[Although aﬃdavits
 technically do not constitute pleadings [under Fed. R. Civ. P. 12(f )], courts have permitted
 aﬃdavits to be challenged by motions to strike because the Federal Rules provide no other means
 to contest their suﬃciency); see also Jordan v. Cobb Cnty., 227 F. Supp. 2d 1322, 1346-47 (N.D. Ga.
 2001) (treating motion to strike aﬃdavit as a notice of objection). For the sake of eﬃciency,
 Plaintiﬀs style the present motion as both a motion to strike and notice of objection and ask that if
 this Court does not ﬁnd a motion to strike aﬃdavits appropriate, that it instead treats this motion
 as a notice of objections to CHIRLA’s attached evidence and sustains Plaintiﬀs’ objections.



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 the record, it should clarify the extent to which they may be given persuasive weight, specifying

 whether their relevance is limited to summary judgment, any potential bench trial, or both.

 Dated: October 31, 2024                          Respectfully submitted,

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                                   CERTIFICATE OF CONFERENCE

         I hereby certify that counsel for Plaintiﬀs have complied with the meet and confer

 requirements of Local Rule CV-7(h). On October 30, 2024, counsel for Plaintiﬀs—Garrett M.

 Greene—conferred with counsel for Amici—Esther H. Sung and Brandon Galli-Graves—about

 the relief requested in this motion. Amici oppose Texas’s motion to strike Amici’s exhibits, ECF

 Nos. 84-1 to 84-5, as it contravenes Judge Campbell Barker’s October 24, 2024 Order. ECF No.

 88 (“The court also grants movants’ new request to attach to their forthcoming amicus curiae brief

 the ﬁve declarations . . . . Those declarations are not trial exhibits, but they may have persuasive
 weight in evaluating the evidence.”).

         On October 30, 2024, Counsel for Plaintiﬀ—Garrett M. Greene—conferred with counsel

 for Defendants—Caroline McGuire—about the relief requested in this motion. Defendants

 oppose on the basis of the Court’s Order, (ECF No. 88 at 8), and because the Court has discretion

 to consider amici brieﬁng and evidence not presented in the parties’ briefs, as is the case here.

 United States v. Holy Land Found. For Relief & Dev., 2009 WL 10680203, at *2 (N.D. Tex. July 1,

 2009), rev’d on other grounds, 624 F.3d 685 (5th Cir. 2010) (“An amicus brief is proper when it

 assists the judge by presenting aspects of ideas, arguments, theories, facts or data that are not in

 the parties’ briefs.”) (emphasis in original); Career Colleges & Sch. of Texas v. United States Dep’t of

 Educ., No. 1:23-CV-433-RP, 2023 WL 11830122, at *1 (W.D. Tex. May 18, 2023) (“The Court has

 “discretion to consider ‘amicus’ brieﬁng where ‘the proﬀered information is ‘timely and useful’ or

 otherwise necessary to the administration of justice.’”) (citation omitted).

         Pursuant to Local Rule CV-7(i), discussions have conclusively ended at an impasse,

 leaving an open issue for the Court to decide.


                                                         /s/Garrett M. Greene
                                                         GARRETT M. GREENE




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                                   CERTIFICATE OF SERVICE
        I certify that a true and accurate copy of the foregoing document was ﬁled electronically
 (via CM/ECF) on October 31, 2024, which serves all counsel of record.

                                                    /s/Ryan D. Walters
                                                    RYAN D. WALTERS




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